                            UNITED STATES DISTRICT COURT
                             DISTRICT OF MASSACHUSETTS

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                              )
UNITED STATES OF AMERICA )
                              )
      v.                      )
                              )             CRIMINAL NO. 19-cr-10335-DJC
TANMAYA KABRA,                )
            Defendant.        )
                              )
______________________________)

                              JOINT INITIAL STATUS REPORT

       Pursuant to Local Rule 116.5(a), the parties hereby file the following joint initial status

report prepared in connection with the initial status conference scheduled for November 5, 2019.

(1)    Automatic Discovery/Pending Discovery Requests

       The Government provided automatic discovery to the defendant on October 11 and
       October 17, 2019 and provided supplemental discovery on October 24, 2019.

(2)    Additional Discovery

       The Government anticipates receiving further productions of documents in this case and
       anticipates it will provide additional discovery when it receives these productions.

(3)    Timing of Additional Discovery Requests

       Defendant is reviewing discovery and, at this time, is reserving the need for further
       discovery requests.

(4)    Protective Orders

       The Government has filed an assented-to motion for a protective order. See Doc. No. 52.

(5)    Pretrial Motions

       The defendant has not filed any pretrial motions under Fed. R. Crim. P. 12(b). He reserves
       the right to file such a motion or motions after additional review of the discovery.
(6)    Expert Discovery

       The Government agrees to provide any expert witness disclosures 21 days prior to trial.
       The Defendant agrees to provide any expert witness disclosures 14 days prior to trial.

(7)    Speedy Trial Act

       The time from the date of the arraignment through September 27, 2019 is automatically
       excludable because of the then-pendency of the Defendant’s Motion to Revoke Detention
       Order and for Pretrial Release. See 18 U.S.C. §§ 3161(h)(1)(D), (H).

       The parties request that the time be excluded from September 27, 2019 until the date of the
       initial status conference scheduled for November 5, 2019 and further request that time be
       excluded until the interim status conference.

(8)    Next Status Conference

       Given all of the foregoing information, the parties request that the initial status conference,
       scheduled for November 5, 2019, be canceled. The parties request that an interim status
       conference be scheduled in approximately 40 days.

Respectfully submitted,

 TANMAYA KABRA,                                      UNITED STATES OF AMERICA,

 By his attorneys,                                   By its attorney,

 /s/ Mark A. Berthiaume                              ANDREW E. LELLING
 Mark A. Berthiaume                                  United States Attorney
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Dated: October 29, 2019




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                                 CERTIFICATE OF SERVICE

        Undersigned counsel certifies that this document filed through the ECF system will be
sent electronically to the registered participants as identified on the Notice of Electronic Filing
(NEF) and paper copies will be sent to those indicated as non-registered participants.

                                               /s/ Christopher Looney
                                               Christopher Looney
                                               Assistant United States Attorney
Dated: October 29, 2019




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